                Case 21-54507-wlh                     Doc 1            Filed 06/14/21 Entered 06/14/21 13:06:10               Desc
                                                                      Petition Page 1 of 52
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:
 Northern District of Georgia

 Case number (If known):                                         Ch  er you are filing under:                 2021.JUN i 4 PH !:05
                                                                   Chapter 7
                                                                 O Chapter 11

          21-54507                                               O Chapter 12
                                                                 O Chapter 13




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                   04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:    Identify Yourself

                                    About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
   Write the name that is on your
   government-issued picture
                                    TAMARA
   identification (for example,     First name                                                  First name
   your driver's license or
   passport).                       Middle name                                                 Middle name
   Bring your picture               FLOYD
   identification to your meeting   Last name                                                   Last name
   with the trustee.
                                    Suffix (Sr., Jr., II, Ill)                                  Suffix (Sr., Jr., II, III)




2. All other names you
   have used in the last 8          First name                                                  First name
   years
   Include your married or          Middle name                                                 Middle name
   maiden names.
                                    Last name                                                   Last name


                                    First name                                                  First name

                                    Middle name                                                 Middle name

                                    Last name                                                   Last name




3. Only the last 4 digits of
   your Social Security             )00(     — XX —              2     2     8     9                     — "a —
   number or federal                OR                                                          OR
   Individual Taxpayer
   Identification number            9),:x - xx -                                                9)C( — )0( —
   (ITIN)
               Case 21-54507-wlh                       Doc 1       Filed 06/14/21 Entered 06/14/21 13:06:10                                 Desc
                                                                  Petition Page 2 of 52
Debtor 1   TAMARA R                                 FLOYD                                           Case number maim*
            First Name   Middle Name                Last Name




                                       About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                              I have not used any business names or EINs.                 U I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                    Business name                                                     Business name
   Include trade names and
   doing business as names             Business name                                                     Business name



                                       EIN                                                               EIN


                                       EIN                                                               EIN




5. Where you live                                                                                        If Debtor 2 lives at a different address:


                                       3135 SUMMER COURT DRIVE
                                       Number          Street                                            Number       Street




                                       JONESBORO                                GA       30239
                                       City                                    State     ZIP Code        City                                   State   ZIP Code

                                        C—ICA
                                       County      V4                                                    County

                                       If your mailing address is different from the one                 If Debtor 2's mailing address is different from
                                       above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                       any notices to you at this mailing address.                       any notices to this mailing address.



                                       Number          Street                                            Number       Street


                                       P.O. Box                                                          P.O. Box


                                       City                                    State     ZIP Code        City                                   State   ZIP Code




6. Why you are choosing                Check one:                                                        Check one:
   this district to file for
   bankruptcy
                                       ii     Over the last 180 days before filing this petition,        U Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                       U I have another reason. Explain.                                 U I have another reason. Explain.
                                         (See 28 U.S.C. § 1408.)                                           (See 28 U.S.C. § 1408.)
             Case 21-54507-wlh                     Doc 1        Filed 06/14/21 Entered 06/14/21 13:06:10                                  Desc
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Debtor 1    TAMARA R                             FLOYD                                         Case number (ithnown)
            First Name   Middle Name             Last Name




Part 2:    Tell the Court About Your Bankruptcy Case


7.   The chapter of the                Check one. (For a brief description of each, see Notice Required by ii U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you               for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                       VI Chapter 7
     under
                                          Chapter 11
                                          Chapter 12
                                       U Chapter 13


9. How you will pay the fee            U I will pay the entire fee when I file my petition. Please check with the derk's office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                       id I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       U I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for                     No
   bankruptcy within the
   last 8 years?                       LI Yes. District                               When                        Case number
                                                                                              MM! DD / YYYY
                                                 District                             When                        Case number
                                                                                              MM! DD / YYYY
                                                 District                             When                        Case number
                                                                                              MM! DD / YYYY



10.Are any bankruptcy                  Vi No
   cases pending or being
   filed by a spouse who is            Li Yes. Debtor                                                            Relationship to you
   not filing this case with                     District                             When                        Case number, if known
   you, or by a business                                                                      MM/DD / YYYY
   partner, or by an
   affiliate?
                                                 Debtor                                                           Relationship to you
                                                 District                             When                        Case number, if known
                                                                                              MM! DD / YYYY



it Do you rent your                         . Go to line 12
   residence?                             Yes. Has your ndlord obtained an eviction judgment against you?

                                                        o. Go to line 12.
                                                 LI Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                    part of this bankruptcy petition.
               Case 21-54507-wlh                    Doc 1        Filed 06/14/21 Entered 06/14/21 13:06:10                             Desc
                                                                Petition Page 4 of 52
Debtor 1      TAMARA R                             FLOYD                                        Case number (ifroom)
             First Name    Middle Name            Last Name




Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor               No. Go to Part 4.
    of any full- or part-time
    business?                            U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
    individual, and is not a                     Name of business, if any
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                         Number       Street
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                  City                                                  State          ZIP Code


                                                 Check the appropriate box to describe your business:
                                                 U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 U Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                                 U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 U None of the above


13. Are you filing under                 If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                    choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                 are a small business debtor or you are choosing to proceed under Subchapter V. you must attach your
                                         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                         if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §              U No. I am not filing under Chapter 11.
    1182(1)?                               No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                   the Bankruptcy Code.
    business debtor, see
                                         U Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
    11 U.S.C. § 101(51D).
                                                Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                         U Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.
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Debtor 1      TAMARA R                            FLOYD                                        Case number (if known
              Fast Name     Middle Name           Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               Ul No
     property that poses or is
     alleged to pose a threat             U Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                   If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number       Street




                                                                             City                                      State   ZIP Code
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Debtor 1      TAMARA R                               FLOYD                                              Case number (if IMMO
              First Name     Middle Name            Last   Name


Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                              I received a briefing from an approved credit                   U I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                    counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                        certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                 I received a briefing from an approved credit                   U I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                    counseling agency within the 180 days before I
    eligible to file.
                                              filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                        certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                       plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                    U I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                         services from an approved agency, but was
                                              unable to obtain those services during the 7                      unable to obtain those services during the 7
                                              days after I made my request, and exigent                         days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                              of the requirement.                                               of the requirement.
                                              To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                              required you to file this case.                                     required you to file this case.
                                              Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                       You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                              may be dismissed.                                                   may be dismissed.
                                              Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                              days.                                                               days.

                                           U I am not required to receive a briefing about                     U I am not required to receive a briefing about
                                             credit counseling because of:                                       credit counseling because of:

                                              U Incapacity. I have a mental illness or a mental                   U Incapacity. I have a mental illness or a mental
                                                            deficiency that makes me                                            deficiency that makes me
                                                            incapable of realizing or making                                    incapable of realizing or making
                                                            rational decisions about finances.                                  rational decisions about finances.
                                              U Disability.       My physical disability causes me                U Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                   to be unable to participate in a
                                                                  briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                  through the intemet, even after I                                  through the intemet, even after I
                                                                  reasonably tried to do so.                                         reasonably tried to do so.
                                              U Active duty. I am currently on active military                    U Active duty. I am currently on active military
                                                             duty in a military combat zone.                                     duty in a military combat zone.
                                              If you believe you are not required to receive a                    If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.
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Debtor 1     TAMARA R                             FLOYD                                           Case number (ifknown)
            First Name   Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                       16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                   as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                            LI No. Go to line 16b.
                                            el Yes. Go to line 17.
                                       16b.Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            0 No. Go to line 16c.
                                            0 Yes. Go to line 17.
                                       16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                            No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                 El No
    administrative expenses
    are paid that funds will be                  0 Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                                 0 1,000-5,000                              0 25,001-50,000
    you estimate that you              LI 50-99                                LI 5,001-10,000                            0 50,001-100,000
    owe?                               LI 100-199                              LI 10,001-25,000                           U More than 100,000
                                       LI 200-999
19. How much do you                       $0-$50,000                               $1,000,001-$10 million                   $500,000,00141 billion
    estimate your assets to               $50,001-$100,000                         $10,000,001-$50 million                  $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                        $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                      $100,000,001-$500 million              0 More than $50 billion
20. How much do you                    0 $0-$50,000                                $1,000,001-$10 million                   $500,000,001-$1 billion
    estimate your liabilities             $50,001-$100,000                         $10,000,001-$50 million                  $1,000,000,001-$10 billion
    to be?                                $100,001-$500,000                        $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                      $100,000,001-$500 million              0 More than $50 billion
Part 7:    Sign Below

                                       I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                correct.
                                       If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                       of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                       under Chapter 7.
                                       If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                       this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                       I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                       I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                       with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                       18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           / --rcizvt-t.d.
                                          Signature of Debtor 1                                           Signature of Debtor 2

                                          Executed on        OLQ h3   bOi      I                          Executed on
                                                             MM   / DD /YYYY                                              MM / DD    /YYYY
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Debtor 1    TAMARA R                          FLOYD                                       Case number (if known)
            First Name   Middle Name         Last Name




For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                  should understand that many people find it extremely difficult to represent
attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                       consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                       dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                       hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                       firm if your case is selected for audit. If that happens, you could lose your right to file another
                                       case, or you may lose protections, including the benefit of the automatic stay.
                                       You must list all your property and debts in the schedules that you are required to file with the
                                       court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                       in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                       property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                       also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                       case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                       cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                       If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                       hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                       successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                       Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                       be familiar with any state exemption laws that apply.

                                       Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                       consequences?
                                       U No
                                       ki Yes
                                       Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                       inaccurate or incomplete, you could be fined or imprisoned?
                                       • No
                                       121 Yes
                                       Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                       6a No
                                       U Yes. Name of Person
                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                       By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                       have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                       attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                 rowl...cet,-6(
                                        Signature of Debtor 1             -15 X
                                                                                                    Signature of Debtor 2

                                                       C)CP      hkial                              Date
                                                         mm DD   / YYYY                                             MM/ DD /YYYY

                                       Contact phone                                                Contact phone

                                       Cell phone                                                   Cell phone

                                       Email address                                                Email address
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                                                                     Petition Page 9 of 52
 Fill in this information to identify your case:


 Debtor 1              TAMARA                                             FLOYD
                       First Name              Middle Name                Last Name

 Debtor 2
 (Spouse, if filing)   First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                   U Check if this is an
                                                                                                                                amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:          Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

       U Married
       El Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

      51 No
      U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

              Debtor 1:                                              Dates Debtor 1   Debtor 2:                                    Dates Debtor 2
                                                                     lived there                                                   lived there


                                                                                      U Same as Debtor 1                          U Same as Debtor 1

                                                                     From                                                            From
                Number              Street                                               Number Street
                                                                     To                                                              To




                City                         State ZIP Code                              City              State ZIP Code

                                                                                      U Same as Debtor 1                          U Same as Debtor 1

                                                                     From                                                            From
                Number              Street                                               Number Street
                                                                     To                                                              To




                City                         State ZIP Code                              City              State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community properly
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      d     No
       U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




  Part 2: Explain the Sources of Your Income
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Debtor 1       TAMARA                                                 FLOYD              Case number (Ir known)
                First Name      Middle Name          Lest Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

     LI No
     g     Yes. Fill in the details.

                                                            Debtor 1                                            Debtor 2

                                                            Sources of income          Gross income             Sources of income         Gross income
                                                            Check all that apply.      (before deductions and   Check all that apply.     (before deductions and
                                                                                       exclusions)                                        exclusions)

                                                                 Wages, commissions,                            0 Wages, commissions,
            From January 1 of current year until
            the date you filed for bankruptcy:
                                                                 bonuses, tips         $   IDi I'S 1                bonuses, tips
                                                            LI Operating a business                             LI Operating a business

            For last calendar year:                         Lia<Vages, commissions,                             LI Wages, commissions,
                                                                bonuses, tips                                       bonuses, tips
            (January Ito December 31,              (9 (74 0 Operating a business                                LI Operating a business
                                              YYYY


            For the calendar year before that: 6-4          W(1Vages,
                                                                --    commissions,                              0 Wages, commissions,
                                                              bonuses, tips                                         bonuses, tips
            (January Ito December 31,           ad
                                              YYYY
                                                         1) LI Operating a business                             LI Operating a business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     g No
     LI Yes. Fill in the details.
                                                            Debtor 1                                             Debtor 2

                                                            Sources of income          Gross income from         Sources of income        Gross income from
                                                            Describe below.            each source               Describe below.          each  source
                                                                                       (before deductions and                             (before deductions and
                                                                                       exclusions)                                        exclusions)



             From January 1 of current year until
             the date you filed for bankruptcy:




             For last calendar year:
             (January 1 to December 31               )
                                              YYYY




             For the calendar year before that:
             (January 1 to December 31               )
                                              YYYY
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Debtor 1   TAMARA                              R                    FLOYD                     Case number (if known)
             Fast Name       Middle Name           Last Name


 Part 3:    List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     LI No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
            "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

             U No. Go to line 7.

             U Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                    total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                    child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     0 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

             0 No. Go to line 7.

             U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                    creditor. Do not include payments for domestic support obligations, such as child support and
                    alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                    Dates of   Total amount paid          Amount you still owe     Was this payment for...
                                                                    payment


                                                                                                                                   U Mortgage
                    Creditors Name
                                                                                                                                   U Car

                   Number    Street                                                                                                U Credit card

                                                                                                                                   U Loan repayment

                                                                                                                                   U Suppliers or vendors

                    City                   State       ZIP Code                                                                    U Other




                                                                                                                                   U Mortgage
                    Creditors Name
                                                                                                                                   U Car

                   Number    Street                                                                                                U Credit card

                                                                                                                                   U Loan repayment

                                                                                                                                   U Suppliers or vendors

                   City                    State       ZIP Code                                                                    U Other




                                                                                                                                   U Mortgage
                   Creditors Name
                                                                                                                                   U Car

                   Number    Street                                                                                                U Credit card

                                                                                                                                   U Loan repayment

                                                                                                                                   U Suppliers or vendors

                   City                    State       ZIP Code                                                                    U Other
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Debtor 1        TAMARA                            R                  FLOYD                      Case number itknown)
                   Mist Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

           No
     U Yes. List all payments to an insider.
                                                                      Dates of   Total amount      Amount you still    Reason for this payment
                                                                      payment    paid              owe


            Insider's Name



            Number       Street




            City                                State   ZIP Code




            Insider's Name


            Number       Street




            City                                Slate   ZIP Code


  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     56 No
     U Yes. List all payments that benefited an insider.
                                                                     Dates of    Total amount      Amount you still    Reason for this payment
                                                                     payment     paid              owe
                                                                                                                       Include creditor's name


            Insider's Name



            Number       Street




            City                                State   ZIP Code




            Insider's Name



            Number       Street




            City                                State   ZIP Code
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Debtor 1       TAMARA                                                      FLOYD                          Case number (i k...)
                First Name         Middle Name           Last Name




  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     Ef No
     LI    Yes. Fill in the details.
                                                                Nature of the case                  Court or agency                            Status of the case


            Case title                                                                             Court Name
                                                                                                                                               O Pending
                                                                                                                                               O On appeal
                                                                                                   Number     Street                           O Concluded

            Case number
                                                                                                   City                   State   ZIP Code




            Case title                                                                             Court Name
                                                                                                                                               O    Pending
                                                                                                                                               CI   On appeal
                                                                                                   Number     Street                           CI   Concluded

            Case number
                                                                                                   City                   State   ZIP Code


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11.
     CI    Yes. Fill in the information below.

                                                                          Describe the property                                    Date      Value of the property



                 Creditor's Name



                 Number      Street                                       Explain what happened

                                                                          O    Property was repossessed.
                                                                          CI   Property was foreclosed.
                                                                          O    Property was garnished.
                 City                            State   ZIP Code         CI   Property was attached, seized, or levied.

                                                                          Describe the property                                    Date       Value of the property




                 Creditor's Name



                 Number      Street
                                                                          Explain what happened

                                                                               Property was repossessed.
                                                                               Property was foreclosed.
                                                                               Property was garnished.
                 City                            State   ZIP Code
                                                                               Property was attached, seized, or levied.
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Debtor 1          TAMARA                                                   FLOYD                         Case number (ff known)
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
           No
     U Yes. Fill in the details.

                                                                 Describe the action the creditor took                            Date action      Amount
                                                                                                                                  was taken
           Creditor's Name



           Number     Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     121 No
     U Yes


  Part 5:         List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
      U Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                               Dates you gave      Value
            per person                                                                                                            the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave     Value
           per person                                                                                                             the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you
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Debtor 1          TAMARA                           R                       FLOYD                            Case number (if known)
                    Filet Name      Middle Name          Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     g No
     U Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                 Describe what you contributed                                         Date you           Value
            that total more than ;600                                                                                                 contributed




           Chants Name




           Number        Street




           City            State      ZIP Code




  Part 6:            List Certain Losses

  15. Within 1 yearbefore you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     g No
     U Yes. Fill in the details.

            Describe the property you lost and                   Describe any insurance coverage for the loss                         Date of your       Value of property
            how the loss occurred                                                                                                     loss               lost
                                                                 Include the amount that insurance has paid. List pending insurance
                                                                 claims on line 33 of Schedule NB: Property.




  Part 7:         List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     21 No
     U Yes. Fill in the details.

                                                                 Description and value of any property transferred                    Date payment or    Amount of payment
                                                                                                                                      transfer was
             Person VVho Was Paid                                                                                                     made


             Number        Street




             City                        State    ZIP Code


             Email or website address

             Person Who Made the Payment, if Not You
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                   First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred                  Date payment or     Amount of
                                                                                                                                      transfer was made   payment


           Person Who Was Paid


           Number        Street




           City                         State    ZIP Code




           Email or website address



           Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

           No
     U Yes. Fill in the details.

                                                                    Description and value of any property transferred                 Date payment or     Amount of payment
                                                                                                                                      transfer was
                                                                                                                                      made
            Person Who Was Paid



            Number        Street




            City                         State   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
     uf No
     U Yes. Fill in the details.

                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made

           Person Who Received Transfer



           Number         Street




            City                        State    ZIP Code


           Person's relationship to you


            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code

            Person's relationship to you
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                First Name       Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     id No
     U Yes. Fill in the details.

                                                              Description and value of the property transferred                                          Date transfer
                                                                                                                                                         was made


           Name of trust




  Part 8:     List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

                         you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
  20. Within 1 year before
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     RI No
     U Yes. Fill in the details.
                                                                  Last 4 digits of account number   Type of account or          Date account was       Last balance before
                                                                                                    instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                or transferred

            Name of Financial Institution
                                                                                                    U Checking

            Number Street                                                                           U Savings

                                                                                                    U Money market

                                                                                                    U Brokerage
            City                       State   ZIP Code
                                                                                                    U Other



                                                                                                    U Checking
            Name of Financial Institution
                                                                                                    U Savings

            Number Street                                                                           U Money market

                                                                                                    U Brokerage

                                                                                                    U Other
            City                       State   ZIP Code

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any                  safe deposit box or other depository for
      securities, cash, or other valuables?
      g No
      U Yes. Fill in the details.
                                                                  Who else had access to it?                   Describe the contents                          Do you still
                                                                                                                                                              have it?

                                                                                                                                                              U No
             Name of Financial Institution                    Name
                                                                                                                                                              U Yes


             Number Street                                    Number Street


                                                              City          State     ZIP Code
             City                      State   ZIP Code
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                   First Name      Middle Name              Last Name



22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    tel No
    U Yes. Fill in the details.
                                                                   Who else has or had access to it?                         Describe the contents          Do you still
                                                                                                                                                            have it?

                                                                                                                                                             U No
            Name of Storage Facility                               Name
                                                                                                                                                             U Yes

            Number       Street                                    Number    Street


                                                                   City State ZIP Code

            City                        State    ZIP Code



  Part 9:            Identify Property You Hold or Control for Someone Else

  23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     g No
     U Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property       Value


            Owner's Name

                                                                  Number    Street
            Number        Street




                                                                  City                            State     ZIP Code
            City                        State     ZIP Code


  Part 10:           Give Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     5f1 No
     U Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, if you know it       Date of notice



           Name of site                                           Governmental unit


           Number       Street                                    Number    Street


                                                                  City                   State   ZIP Code



           City                        State     ZIP Code
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                   First Name   Middle Name          Last Name




 25. Have   you notified any governmental unit of any release of hazardous material?

       No
     U Yes. Fill in the details.
                                                            Governmental unit                               Environmental law, if you know it                     Date of notice



            Name of site                                   Governmental unit

            Number Street                                  Number Street


                                                           City                  State    ZIP Code

            City                     State    ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
       No
     U Yes. Fill in the details.
                                                                                                                                                                   Status of the
                                                                 Court or agency                                 Nature of the case
                                                                                                                                                                   case

           Case title
                                                                                                                                                                   U Pending
                                                                 Court Name
                                                                                                                                                                   U On appeal

                                                                 Number Street                                                                                     U Concluded


           Case number                                           City                    State   ZIP Code


  Part II:            Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           CI   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U    A member of a limited liability company (LLC) or limited liability partnership (LIP)
           U    A partner in a partnership
           U    An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     • No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                 Describe the nature of the business                             Employer Identification number
                                                                                                                                 Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                 EIN:
             Number Street
                                                                 Name of accountant or bookkeeper                                Dates business existed


                                                                                                                                 From               To
             City                     State   ZIP Code
                                                                 Describe the nature of the business                             Employer Identification number
                                                                                                                                 Do not include Social Security number or ITIN.
             Business Name

                                                                                                                                 EIN:           —
             Number Street
                                                                 Name of accountant or bookkeeper                                Dates business existed



                                                                                                                                 From                To
             City                     State   ZIP Code
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                   First Name   Middle Name          Last Name



                                                                                                                    Employer Identification number
                                                             Describe the nature of the business
                                                                                                                    Do not include Social Security number or MN.
            Business Name
                                                                                                                    EIN:

            Number Street
                                                             Name of accountant or bookkeeper                       Dates business existed



                                                                                                                    From               To
            City                     State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     U No
     U Yes. Fill in the details below.

                                                             Date issued




            Name                                             MM I DD / YYYY


            Number Street




            City                      State   ZIP Code




  Part 12:          Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




       x
            Signature of Debtor 1                                             Signature of Debtor 2


            Date      Nab 3 ILO                                               Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       Ri    No
       U     Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       RI No
       U Yes. Name of person                                                                                . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                              Declaration, and Signature (Official Form 119).
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Fill in this information to identify your case and this filing:


Debtor 1              TAMARA                                               FLOYD
                      First Name                 Middle Name               Last Name


Debtor 2
(Spouse, if filing)   First Name                 Middle Name               Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                            U Check if this is an
                                                                                                                                              amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, budding, land, or similar property?

    U  No: Go to Part 2.
       „
     IWYes. Where is the property?
                                                                     What is the property? Check all that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                     U    Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Claims Secured by Properly.
                                                                     U    Duplex or multi-unit building
              Street address, if available, or other description
                                                                     U Condominium or cooperative                      Current value of the     Current value of the
                                                                     U    Manufactured or mobile home                  entire property?         portion you own?
                                                                     Li Land
                                                                     U    Investment property
                                                                     U    Timeshare                                    Describe the nature of your ownership
              City                            State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     U    Other
                                                                                                                       the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     U Debtor 1 only
              County                                                 U Debtor 2 only
                                                                     U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                         (see instructions)
                                                                     U At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
     If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                    U    Single-family home                            the amount of any secured claims on Schedule D:
       1.2.                                                                                                            Creditors Who Have Claims Secured by Properly.
                                                                    U    Duplex or multi-unit building
              Street address, if available, or other description
                                                                    U    Condominium or cooperative                    Current value of the     Current value of the
                                                                    U    Manufactured or mobile home                   entire property?         portion you own?
                                                                    U    Land
                                                                    U    Investment property
                                                                    U    Timeshare                                     Describe the nature of your ownership
               City                           State      ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                    U    Other                                         the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one
                                                                    U Debtor 1 only
               County                                               U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                       U Check if this is community property
                                                                    U At least one of the debtors and another            (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
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                                                                                           Case number (ifknown)
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     U Single-family home                             the amount of any secured claims on Schedule D:
    1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       U Duplex or multi-unit building
                                                                    U Condominium or cooperative                      Current value of the     Current value of the
                                                                                                                      entire property?         portion you own?
                                                                    U Manufactured or mobile home
                                                                    U Land
                                                                    U Investment property
           City                            State     ZIP Code       U   Timeshare                                     Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                    U Other                                           the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                    U At least one of the debtors and another           (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                              0.00
   you have attached for Part 1. Write that number here                                                                                  4




Part 2:     Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   RI No
   U Yes


    3.1.   Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                                   U Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                    U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                       entire property?          portion you own?
                                                                    U At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                      instructions)



   If you own or have more than one, describe here:

    3.2.   Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                                                   U Debtor 1 only
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                    U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                       entire property?          portion you own?
                                                                    U At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                      instructions)
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               First Name       MkIdle Name       Last Name




   3.3.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:                                                                                                Current value of the     Current value of the
                                                              U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                 entire property?         portion you own?
                                                              U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                instructions)


           Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
   34.
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:                                                                                                Current value of the     Current value of the
                                                              U Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                 entire property?         portion you own?
                                                              U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   121 No
   U Yes


   4.1.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:
                                                              U Debtor 1 and Debtor 2 only
                                                                                                                Current value of the      Current value of the
           Other information:                                 U At least one of the debtors and another         entire property?          portion you own?


                                                              U Check if this is community property (see
                                                                instructions)



   If you own or have more than one, list here:

   4.2.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             U Debtor 1 only
                                                                                                                Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:                                                                                                Current value of the      Current value of the
                                                              U Debtor 1 and Debtor 2 only
           Other information:                                                                                   entire property?          portion you own?
                                                              U At least one of the debtors and another


                                                              U Check if this is community property (see
                                                                instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                       0.00
   you have attached for Part 2. Write that number here                                                                            4
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Debtor 1      TAMARA                                           Petition
                                                                FLOYD Page 24 of Case
                                                                                 52 number (irk....)
               HIM Name      MkIdle Name         Last Name




Part 3:    Describe Your Personal and Household Hems

                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims
                                                                                                                              or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   CI No
   0 Yes. Describe           HOUSEHOLD GOODS                                                                                                  1,000.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   U No
   O Yes. Describe           TV PHONE COMPUTER                                                                                                   800.00
                                                                                                                                          _
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   GI No
   U Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   O No
   U Yes. Describe

10 Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   O No
   U Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    CI No
    O Yes. Describe        REGULAR CLOTHES                                                                                                       700.00


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   O No
   U Yes. Describe

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   O No
   U Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list

   O No
   U Yes. Give specific
     information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                              2,500.00
   for Part 3. Write that number here                                                                                     4
                  Case 21-54507-wlh                   Doc 1     Filed 06/14/21 Entered 06/14/21 13:06:10                                Desc
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               First Name    Middle Name          Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   ca No
   U Yes                                                                                                     Cash:                                   500.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   U No
   •   Yes                                                    Institution name:


                             17.1. Checking account:          ROBINS FCU
                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.6. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   id No
   U Yes                     Institution Or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
   RI No                     Name of entity:                                                                 % of ownership:
   U Yes. Give specific                                                                                      0%
     information about
     them                                                                                                    0%
                                                                                                             0%
Debtor 1
               Case 21-54507-wlh
             TAMARA                                    Doc 1      Filed
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zo. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
   U Yes. Give specific      Issuer name:
     information about
     them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   R1 No
   U Yes. List each
     account separately.     Type of account           Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   •   No
   U Yes                                           Institution name or individual:
                             Electric:

                             Gas:
                             Heating oil:

                             Security deposit on rental unit

                             Prepaid rent

                             Telephone:

                             Water:

                             Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    Wi No
    U Yes                     Issuer name and description:
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            TAMARA          R                      Doc 1      Filed
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   O No
   U Yes                            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   la No
   U Yes. Give specific
     information about them....

26.Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   la No
   U Yes. Give specific
     information about them....


27.Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   0 No
   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28.Tax refunds owed to you
   RI No
   U Yes. Give specific information                                                                            Federal:
          about them, including whether
          you already filed the returns                                                                         State:
          and the tax years
                                                                                                                Local:


29.Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   0 No
   U Yes. Give specific information.
                                                                                                               Alimony:
                                                                                                               Maintenance:
                                                                                                               Support
                                                                                                               Divorce settlement:
                                                                                                               Properly settlement:

30.Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else
    O No
   U Yes. Give specific information
                                                                                                                                                         500.00
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31.Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (1-ISA); credit, homeowners, or renters insurance
   la No
   CI    Yes. Name the insurance company            Company name:                                          Beneficiary:                             Surrender or refund value:
              of each policy and list its value....




32.Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   O No
   0     Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   O No
   CI    Yes. Describe each claim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   O No
    •    Yes. Describe each claim.




35. Any financial assets you did not already list
    O No
    CI   Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                    4                             0.00



Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    WI No. Go to Part 6.
    O Yes. Go to line 38.

                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned
    O No
    CI   Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    •    No
    O Yes. Describe
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   g No
   U Yes. Describe



41. Inventory
     g No
     U Yes. Describe



42. Interests in partnerships or joint ventures
   g No
   U Yes. Describe....... Name of entity:                                                               % of ownership:




43. Customer lists, mailing lists, or other compilations
    • No
    U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            U No
            U Yes. Describe.



44. Any business-related property you did not already list
    g No
    U Yes. Give specific
       information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                  0.00
    for Part 5. Write that number here                                                                               4


Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   g No. Go to Part 7.
   U Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish

   g No
   U Yes

                                                                                                                                                0.00
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48. Crops—either growing or harvested
       No
   •   Yes. Give specific
       information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    121 No
    U Yes



SO. Farm and fishing supplies, chemicals, and feed
   WI No
   U Yes



51. Any farm- and commercial fishing-related property you did not already list
    14 No
    U Yes. Give specific
       information.

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                              0.00
    for Part 6. Write that number here



Part 7:     Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   la No
   U Yes. Give specific
      information.




54. Add the dollar value of all of your entries from Part 7. Write that number here



Part 8:     List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                  4                   0.00
                                                                                                                            $

56.Part 2: Total vehicles, line 5                                                       0.00

57.Part 3: Total personal and household items, line 15                           2,500.00

58.Part 4: Total financial assets, line 36                                            500.00

59.Part 5: Total business-related property, line 45                                     0.00

60.Part 6: Total farm- and fishing-related property, line 52                            0.00

61.Part 7: Total other property not listed, line 54                    $                0.00


62.Total personal property. Add lines 56 through 61.                             3,000.00 Copy personal property total 4   + $         3,000.00


63.Total of all property on Schedule NB. Add line 55+ line 62                                                                          3,000.00
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                                                                 Petition Page 31 of 52
 Fill in this information to identify your case:

 Debtor 1        TAMARA                                                 FLOYD
                 First Name                Middle Name                  Last Name

 Debtor 2
 (Spouse, if     First Name                Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                            U Check if this is an
  (If known)
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:       Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      U You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      14 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the      Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from       Check only one box for each exemption.
                                                          Schedule NB

      Brief                                                                                                                  OCGA 44-13-100(a)(4)
      description:
                              HOUSEHOLD                    $ 1,000.00                  $ 1,000.00
      Line from                                                                     U 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit


      Brief
                              CLOTHES                      $ 700.00                    $ 700.00                              OCGA 44-13-100(a)(4)
      description:
      Line from                                                                     U 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit

      Brief                                                                                                                  OCGA 44-13-100(a)(4)
      description:            ELECTRONICS                  $ 800.00                     $ 800.00
      Line from                                                                     U 100% of fair market value, up to
      Schedule A/B•                                                                   any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      Ei No
      U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            U   No
            U   Yes
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              TAMARA
                                                             Petition
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Debtor 1                                                                                     Case number (if known)
              First Name      Middle Name      Last Name




 Part 2:     Additional Page


      Brief description of the property and line       Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule NB that lists this property          portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule NB

     Brief
                           checking acct                           500.00              500.00                         OCGA 44-13-100(a)(6)
     description:                                                             Is
     Line from                                                                CI 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                   100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                CI 100% of fair market value, up to
     Schedule NB:                                                                 any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             U
     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             Us
      Line from                                                               D 100% of fair market value, up to
      Schedule A/B:                                                             any applicable statutory limit

      Brief
      description:                                                             Us
      Line from                                                                   100% affair market value, up to
      Schedule A/B:                                                               any applicable statutory limit

      Brief
      description:                                                            Us
      Line from                                                               U 100% affair market value, up to
      Schedule NB:                                                                any applicable statutory limit


      Brief
      description:                                                            Us
      Line from                                                               U 100% affair market value, up to
      Schedule NB:                                                                any applicable statutory limit

      Brief
      description:                                                             Us
      Line from                                                                U 100% affair market value, up to
      Schedule A/B:                                                               any applicable statutory limit

      Brief
      description:                                                             Us
      Line from                                                                U 100% affair market value, up to
      Schedule NB:                                                                any applicable statutory limit


      Brief
      description:                                                             Us
      Line from                                                                   100% of fair market value, up to
      Schedule A/B:                                                               any applicable statutory limit
                            Case 21-54507-wlh                   Doc 1       Filed 06/14/21 Entered 06/14/21 13:06:10                             Desc
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  Fill in this information to identify your case:


  Debtor 1              TAMARA                                                   FLOYD
                        First Name                Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)   First Name                Middle Name                  Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (If known)                                                                                                                                 0   Check if this is an
                                                                                                                                                 amended filing


  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12115

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
  additional pages, write your name and case number (if known).

 1. Do any creditors have claims secured by your property?
     RINo. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    U Yes. Fill in all of the information below.


 Part 1:          List All Secured Claims
                                                                                                                           Column A   Column B              Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim              Value of collateral   Unsecured
    for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                             that supports this    portion
                                                                                                          Do not deduct the
    As much as possible, list the claims in alphabetical order according to the creditors name.           value of collateral.        claim                 If any
 2.1
                                                           Describe the property that secures the claim:
       Creditor's Name

       Number             Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                            U Contingent
                                                            •   Unliquidated
         City                        State   ZIP Code       U Disputed
    Who owes the debt? Check one.                           Nature of lien. Check all that apply.
           Debtor 1 only                                    U An agreement you made (such as mortgage or secured
           Debtor 2 only                                      car loan)
           Debtor 1 and Debtor 2 only                       U Statutory lien (such as tax lien, mechanic's lien)
           At least one of the debtors and another          U Judgment lien from a lawsuit
                                                            U Other (including a right to offset)
       Check if this claim relates to a
       community debt
    Date debt was incurred                                  Last 4 digits of account number
I 2.21                                                      Describe the property that secures the claim:
         Creditors Name

         Number           Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                            U Contingent
                                                            •   Unliquidated
         City                        State   ZIP Code       U Disputed
    Who owes the debt? Check one.                           Nature of lien. Check all that apply.
    U Debtor 1 only                                         U An agreement you made (such as mortgage or secured
    U Debtor 2 only                                           car loan)
    U Debtor 1 and Debtor 2 only                            U Statutory lien (such as tax lien, mechanic's lien)
    U At least one of the debtors and another               CI Judgment lien from a lawsuit
                                                            U Other (including a right to offset)
    U Check if this claim relates to a
       community debt
    Date debt was incurred                                  Last 4 digits of account number
         Arid fisn ainllm.tsnlo      nnn. nntrican in f.'s...m.1n A nn thin nmenk Wrilln Chat flowed's... harm.
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 Fill in this information to identify your case:
                                                                          Petition Page 34 of 52

 Debtor 1          TAMARA                                                    FLOYD
                    First Name                     Middle Name                Last Name
 Debtor 2
 (Spouse, If filing) First Name                    Middle Name                Last Name

 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                        U Check if this is an
 Case number
 (If known)                                                                                                                               amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:         List All of Your PRIORITY Unsecured Claims

I. Do any creditors have priority unsecured claims against you?
    ta No. Go to Part 2.
    U Yes.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
   each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
   nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
   unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
   (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority     Nonpriority
                                                                                                                                         amount       amount

                                                                    Last 4 digits of account number
      Priority Creditors Name
                                                                     When was the debt incurred?
       Number           Street

                                                                    As of the date you file, the claim is: Check all that apply.
                                                                     U Contingent
       City                                State    ZIP Code
                                                                     •    Unliquidated
       Who incurred the debt? Check one.
                                                                     U Disputed
       U Debtor 1 only
       U Debtor 2 only                                               Type of PRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only
                                                                     U Domestic support obligations
       U At least one of the debtors and another
                                                                     O    Taxes and certain other debts you owe the government
       U Check if this claim is for a community debt                 O    Claims for death or personal injury while you were
       Is the claim subject to offset?                                    intoxicated
       U No                                                          O Other. Specify
       U Yes

                                                                     Last 4 digits of account number                                $
       Priority Creditors Name
                                                                     When was the debt incurred?
       Number            Street
                                                                     As of the date you file, the claim is: Check all that apply.
                                                                     U Contingent
       City                                State    ZIP Code         •    Unliquidated
       Who incurred the debt? Check one.                             O    Disputed
       CI     Debtor 1 only
                                                                     Type of PRIORITY unsecured claim:
       U Debtor 2 only
                                                                     U Domestic support obligations
       0      Debtor 1 and Debtor 2 only
                                                                     O Taxes and certain other debts you owe the government
       0      At least one of the debtors and another
                                                                     U Claims for death or personal injury while you were
       U Check if this claim is for a community debt                   intoxicated
       Is the claim subject to offset?                               CI   Other. Specify
       U No
                        Case 21-54507-wlh
                    TAMARA
                                                                Doc 1       Filed 06/14/21 Entered 06/14/21 13:06:10
                                                                            FLOYD
                                                                                                                                                       Desc
Debtor 1
                    First Name       Middle Name          Last Name        Petition Page 35 of Case
                                                                                               52 number orknoven)
 Part 2:         List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      D  No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      lj Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim

F7         DEPT OF EDUCATION
       Nonpriority Creditor's Name
                                                                                   Last 4 digits of account number
                                                                                                                                                                  2,500.00
                                                                                   When was the debt incurred?
       POB 72561
       Number            Street
       LINCOLN                                          NE             68541
       City                                             State         ZIP Code     As of the date you file, the claim is: Check all that apply.

                                                                                   O    Contingent
       Who incurred the debt? Check one.                                           •    Unliquidated
              Debtor 1 only                                                        LI   Disputed
       Li Debtor 2 only
       O Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
       0      At least one of the debtors and another                              Wir Student loans
       U Check if this claim is for a community debt                               O    Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
       Is the claim subject to offset?                                             O    Debts to pension or profit-sharing plans, and other similar debts
       141 No                                                                      O    Other. Specify
       0      Yes


Fl SANTANDER
       Nonpnority Creditor's Name
                                                                                   Last 4 digits of account number
                                                                                   When was the debt incurred?
                                                                                                                                                                 19,927.00

       POB 961211
       Number             Street
        FORT WORTH                                      TX             75161       As of the date you file, the claim is: Check all that apply.
       City                                             State         ZIP Code
                                                                                        Contingent
       Who incurred the debt? Check one.                                           LI   Unliquidated

       •      Debtor 1 only                                                        O Disputed

       LI Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
       CI Debtor 1 and Debtor 2 only
       0 At least one of the debtors and another                                   U Student loans
                                                                                   O    Obligations arising out of a separation agreement or divorce
        U Check if this claim is for a community debt                                   that you did not report as priority claims
       Is the claim subject to offset?                                             GI   Debts to pension or profit-sharing plans, and other similar debts
       •      No                                                                        Other. Specify   AUTOMOBILE
        U     Yes

4.3
                                                                                   Last 4 digits of account number
       Nonpriority Creditor's Name                                                                                        —    —     —    —
                                                                                   When was the debt incurred?

       Number             Street

                                                                                   As of the date you file, the claim is: Check all that apply.
       City                                             State         ZIP Code
                                                                                   O    Contingent
       Who incurred the debt? Check one.
                                                                                   •    Unliquidated
       U Debtor 1 only
                                                                                   O Disputed
        O Debtor 2 only
        O Debtor 1 and Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
        0     At least one of the debtors and another
                                                                                   U Student loans
        U Check if this claim is for a community debt                              LIObligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                   O Debts to pension or profit-sharing plans, and other similar debts
       U No
                                                                                   O    Other. Specify
        U     Yes
             Case 21-54507-wlh
           TAMARA                                     Doc 1    Filed
                                                               FLOYD06/14/21 Entered    06/14/21 13:06:10                    Desc
Debtor 1
               First Name    Middle Name         Lest Name    Petition Page 36 of Case
                                                                                  52 number (ta.)

Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                 Total claim


                 6a.Domestic support obligations                          6a.                          0.00
Total claims
from Part 1
                 6b.Taxes and certain other debts you owe the
                    government                                            6b.                          0.00
                 6c.Claims for death or personal injury while you were
                    intoxicated                                           6c.                          0.00
                 6d.Other. Add all other priority unsecured claims.
                    Write that amount here.                               6d. +$                       0.00


                 6e.Total. Add lines 6a through 6d.                       6e.
                                                                                                       0.00


                                                                                  Total claim

                 6f. Student loans                                        61.                          0.00
Total claims
from Part 2
                 6g.Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                6g.      $                   0.00
                 6h.Debts to pension or profit-sharing plans, and other
                    similar debts                                         6h.                          0.00

                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                              61.   + $              22,427.00


                 6j.Total. Add lines 6f through 6i.                       6j.
                                                                                                 22,427.00
                    Case 21-54507-wlh                Doc 1      Filed 06/14/21 Entered 06/14/21 13:06:10                               Desc
                                                               Petition Page 37 of 52
 Fill in this information to identify your case:


 Debtor            TAMARA                                               FLOYD
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse If filing) First Name             Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 case number
  (If known)                                                                                                                         U Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      6A No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      U Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/13).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                            State what the contract or lease is for


2.1
      Name

      Number           Street

      City                             State     ZIP Code

2.2
      Name

      Number           Street

      City                             State     ZIP Code
2.3
      Name

      Number           Street

      City                             State     ZIP Code
2.4
      Name

      Number           Street

      City                             State     ZIP Code
2.5
      Name

      Number           Street

      nitki                            State     71P (Ind.?
                     Case 21-54507-wlh                          Doc 1          Filed 06/14/21 Entered 06/14/21 13:06:10                             Desc
                                                                              Petition Page 38 of 52
 Fill in this information to identify your case:


 Debtor 1          TAMARA                                                      FLOYD
                    First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name

 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                                                                                                                                                   U Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill It out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
    IA No
       Li Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community properly states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       g No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           U No
           U Yes. In which community state or territory did you live?                                    . Fill in the name and current address of that person.


                  Name of your spouse, former spouse, or legal equivalent



                  Number            Street



                  City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                 Check all schedules that apply:
 3.1
         Name
                                                                                                                      Schedule D, line
                                                                                                                  GI Schedule E/F, line
         Number            Street
                                                                                                                  U Schedule G, line

         City                                                         State                   ZIP Code

 3.2
         Name
                                                                                                                      Schedule D, line
                                                                                                                      Schedule E/F, line
         Number            Street                                                                                     Schedule G, line

         City                                                         State                   ZIP Code

3.3
         Name
                                                                                                                      Schedule D, line
                                                                                                                  LI Schedule E/F, line
         Number            Street
                                                                                                                  U Schedule G, line
         City                                                         State                   ZIP Code
                      Case 21-54507-wlh                   Doc 1          Filed 06/14/21 Entered 06/14/21 13:06:10                           Desc
                                                                        Petition Page 39 of 52
 Fill in this information to identify your case:


 Debtor 1           TAMARA                                               FLOYD
                    First Name              Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name                   Last Name


 United States Bankruptcy Court for the:                  District of

 Case number                                                                                               Check if this is:
 (If known)
                                                                                                           U An amended filing
                                                                                                           0 A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:
Official Form 1061                                                                                                MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
   information.                                                                 Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
                                           Employment status                  0 Employed                                    U Employed
    information about additional
    employers.                                                                U Not employed                                U Not employed

     Include part-time, seasonal, or
     self-employed work.
                                           Occupation                       INSPECTOR
     Occupation may include student
     or homemaker, if it applies.
                                           Employer's name                  LOVE TRUCKING SOLUTIONS

                                           Employer's address               381 DAVIIJS LAKE RD
                                                                             Number Street                                Number   Street




                                                                            LOCUT GROVE GA
                                                                              City             State   ZIP Code           City                 State ZIP Code

                                           How long employed there?              2 MONTHS277(                               2 MONTHS277€


  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.               2.


  3. Estimate and list monthly overtime pay.                                                   3. +$                      +$


  4. Calculate gross income. Add line 2 + line 3.                                              4.      $ 2,776.00
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                                                              Petition Page 40 of 52
Debtor 1      TAMARA                         R                FLOYD                           Case number (Irknown)
                First Name     Middle Name       Last Name



                                                                                              For Debtor 1            For Debtor 2 or
                                                                                                                      non-filing spouse

   Copy line 4 here                                                                -) 4.

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                5a.     $                         $

     5b. Mandatory contributions for retirement plans                                 5b.     $                         $

     5c. Voluntary contributions for retirement plans                                 5c.     $                         $
     5d. Required repayments of retirement fund loans                                 5d.     $                         $
     5e. Insurance                                                                    5e.     $                         $
     5f. Domestic support obligations                                                 5f.     $                         $

     5g. Union dues                                                                   5g.     $                         $

     5h. Other deductions. Specify:                                                   5h. +$                          + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.       6.     $                         $


  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.     $


 a. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                        8a.
     8b. Interest and dividends                                                       8b.     $
     8c. Family support payments that you, a non-filing spouse, or a dependent
           regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                        8c.
     8d. Unemployment compensation                                                     8d.    $
     8e. Social Security                                                               8e.    $

     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  8f.        $

      8g. Pension or retirement income                                                 8g.    $

      8h. Other monthly income. Specify:                                               8h. + $                         +$

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.              9.

 10. Calculate monthly income. Add line 7 + line 9.                                           $    2,776.00                                     $    2,776.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.         10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                             11.   $

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                $    2,776.00
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                   12.
                                                                                                                                                Combined
                                                                                                                                                monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      LI No.
         Yes. Explain:
                       i WILL NOW BE MAKING #16 AN HOUR
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                                                                   Petition Page 41 of 52

  Fill in this information to identify your case:


  Debtor 1          TAMARA                      R                        FLOYD
                        First Name           Middle Name                 Last Name                     Check if this is:
  Debtor 2                                                                                             U An amended filing
  (Spouse, if filing)   First Name           Middle Name                 Last Name
                                                                                                       U A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Northern District of Georgia                                   expenses as of the following date:
  Case number                                                                                              MM / DD/ YYYY
  (If known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:                Describe Your Household

1. Is this a joint case?

   Ei No. Go to line 2.
   U Yes. Does Debtor 2 live in a separate household?

                 U No
                 U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  g   No                                   Dependent's relationship to                 Dependent's    Does dependent live
    Do not list Debtor 1 and               U Yes. Fill out this information for      Debtor 1 or Debtor 2                        age            with you?
    Debtor 2.                                each dependent
                                                                                                                                                U   No
    Do not state the dependents'
                                                                                                                                                U Yes
    names.
                                                                                                                                                U No
                                                                                                                                                U Yes
                                                                                                                                                U No
                                                                                                                                                U Yes
                                                                                                                                                U No
                                                                                                                                                U Yes
                                                                                                                                                U No
                                                                                                                                                U Yes

3. Do your expenses include
                                            U No
   expenses of people other than
   yourself and your dependents?            U Yes


Part 2:           Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                               Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,050.00
      any rent for the ground or lot.                                                                                      4.

      If not included in line 4:
      aa.     Real estate taxes                                                                                            4a.     $

      4b. Property, homeowner's, or renter's insurance                                                                     4b.     $

      4c. Home maintenance, repair, and upkeep expenses                                                                    4c.     $

       4d. Homeowner's association or condominium dues                                                                     4d.     $
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                                                              Petition Page 42 of 52
Debtor 1         TAMARA                                          FLOYD                   Case number (ir known)
                 Mist Name      Middle Name      Last Name




                                                                                                                             Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                        6a.        $               540.00
      6b.   Water, sewer, garbage collection                                                                      6b.        $                80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.        $               190.00
      6d.   Other. Specify:                                                                                       6d.        $

 7. Food and housekeeping supplies                                                                                7.                         400.00

 8. Childcare and children's education costs                                                                      8.

 9. Clothing, laundry, and dry cleaning                                                                           9.                         150.00
10. Personal care products and services                                                                           10.                         70.00
11. Medical and dental expenses                                                                                   11.                         50.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                             400.00
      Do not include car payments.                                                                                12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.

14. Charitable contributions and religious donations                                                              14.

15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                         15a.

      15b. Health insurance                                                                                       15b.

      15c. Vehicle insurance                                                                                      15c.

      15d. Other insurance. Specify:                                                                              15d.


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.

17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                             17a.

      17b. Car payments for Vehicle 2                                                                             17b.

      17c. Other. Specify:                                                                                        17c.

      17d. Other. Specify:                                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                   18.   $


19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                         19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.

       20b. Real estate taxes                                                                                      20b.      $

       20c. Property, homeowner's, or renter's insurance                                                          20c.       $

       20d. Maintenance, repair, and upkeep expenses                                                               20d.      $

       20e. Homeowner's association or condominium dues                                                            20e.
                  Case 21-54507-wlh               Doc 1       Filed 06/14/21 Entered 06/14/21 13:06:10                         Desc
                                                             Petition Page 43 of 52
Debtor 1     TAMARA                                            FLOYD                       Case number (If known)
              First Name    Middle Name       Last Name




21. Other. Specify:                                                                                                 21.


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                                22a.            2,720.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.

    22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.            2,720.00


23. Calculate your monthly net income.
                                                                                                                                2,776.00
   23a.    Copy line 12 (your combined monthly income) from Schedule!.                                              23a.

   23b.    Copy your monthly expenses from line 22c above.                                                          23b.   $    2,720.00

   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                      56.00
           The result is your monthly net income.                                                                   23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   0   No.
   U Yes.        Explain here:
                         Case 21-54507-wlh                   Doc 1     Filed 06/14/21 Entered 06/14/21 13:06:10                            Desc
                                                                      Petition Page 44 of 52
Fill in this information to identify your case:


Debtor 1           TAMARA                                                 FLOYD
                    Fist Name                  Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name                 Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                                 Li Check if this is an
 (If known)                                                                                                                                    amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                           12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                      secures a debt?                                   as exempt on Schedule C?

           Creditor's                                                                 U Surrender the property.                         U No
           name:
                                                                                      U Retain the property and redeem it.              U Yes
          Description of
          property                                                                    U Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      U Retain the property and [explain]:



          Creditor's                                                                  U Surrender the property.                         U No
          name:
                                                                                      U Retain the property and redeem it.              U Yes
          Description of
                                                                                      U Retain the property and enter into a
          property
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      U Retain the property and [explain]:



          Creditor's                                                                  U Surrender the property.                         U No
          name:
                                                                                      U Retain the property and redeem it.              U Yes
          Description of
          property                                                                    Li Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      U Retain the property and [explain]:



           Creditor's                                                                 U Surrender the property.                         U No
           name:
                                                                                      U Retain the property and redeem it.              U Yes
          Description of
          property                                                                    U Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      U Retain the property and [explain]:
                        Case 21-54507-wlh                  Doc 1     Filed 06/14/21 Entered 06/14/21 13:06:10                          Desc
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Debtor 1           TAMARA                           R                 FLOYD                     Case number   (If known)
                   Mrst Name          Middle Name       Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                    Will the lease be assumed?

      Lessor's name:                                                                                                       CI No
                                                                                                                           0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                       CI No
                                                                                                                           0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                           No

      Description of leased                                                                                                U Yes
      property:



       Lessor's name:                                                                                                      0 No
                                                                                                                           CI Yes
       Description of leased
       property:



       Lessor's name:                                                                                                      0   No

                                                                                                                           0   Yes
       Description of leased
       property:


       Lessor's name:                                                                                                      CI No
                                                                                                                           CI Yes
       Description of leased
       property:



       Lessor's name:                                                                                                      0   No

                                                                                                                           0   Yes
       Description of leased
       property:




  Part 3:              Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   X          / ( 4,41,A1-1,A-m             (WI
       Signature of Debtor 1                                           Signature of Debtor 2

       Date    /   Li        /3 z d?                                   Date
                   /    DD     /   YYYY                                       MM! DD /   YYYY
                      Case 21-54507-wlh                    Doc 1    Filed 06/14/21 Entered 06/14/21 13:06:10                           Desc
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 Fill in this information to identify your case:


 Debtor 1          TAMARA                                           FLOYD
                    First Name               Middle Name                Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                            Check if this is an
                     (If known)                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                     0.00
   la. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                               3,000.00

    lc. Copy line 63, Total of all property on Schedule A/B                                                                                    3,000.00


Part 2:         Summarize Your Liabilities


                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 106D)
                                                                                                                                                     0.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

     3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF                                        22,427.00
                                                                                                                                  +$


                                                                                                        Your total liabilities               22,427.00


 Part 3:        Summarize Your Income and Expenses


 4. Schedule         Your Income (Official Form 1061)
                                                                                                                                               2,776.00
     Copy your combined monthly income from line 12 of Schedule

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                               2,720.00
    Copy your monthly expenses from line 22c of Schedule J
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                                                               Petition Page 47 of 52
Debtor 1        TAMARA                                         FLOYD                         Case number or known)
                 First Name    Middle Name         Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    WI Yes


7. What kind of debt do you have?

    WI Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

    D Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       2,776.00




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                      Total claim


      From Part 4 on Schedule E/F, copy the following:


    9a.Domestic support obligations (Copy line 6a.)
                                                                                                                        0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                           0.00

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                        0.00


    9d. Student loans. (Copy line 6f.)
                                                                                                                        0.00

    9e. Obligations arising out of a separation agreement or divorce that you did not report as                         0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$                   0.00


    9g. Total. Add lines 9a through 9f.                                                                                 0.00
                          Case 21-54507-wlh               Doc 1    Filed 06/14/21 Entered 06/14/21 13:06:10                                            Desc
                                                                  Petition Page 48 of 52
Fill in this information to identify your case:

Debtor I           TAMARA                                         FLOYD
                   First Name               Middle Name                Lest Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number
(If known)

                                                                                                                                                     U Check if this is an
                                                                                                                                                       amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                              12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        Gir No
        U Yes. Name of person                                                                  . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




          Signature of Debtor 1                                            Signature of Debtor 2


         DateOLf//)/Z i%                                                   Date
                 MM/     DD      /   YYYY                                          MM/ DD I   YYYY
                       Case 21-54507-wlh                   Doc 1    Filed 06/14/21 Entered 06/14/21 13:06:10                                        Desc
 Fill in this information to identify your case:
                                                                   Petition Page 49 of 52
                                                                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1          TAMARA                                            FLOYD
                    First Name               Middle Name                Last Name
                                                                                                                 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Last Name                        LI 2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                              Means Test Calculation (Official Form 122A-2).

 Case number                                                                                             0       3. The Means Test does not apply now because of
 (If known)                                                                                                         qualified military service but it could apply later.


                                                                                                         CI      Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

  Part 1:        Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
       id Not married. Fill out Column A, lines 2-11.
       0    Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       U    Married and your spouse is NOT filing with you. You and your spouse are:

                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                   under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                   spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
       Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
       bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
       August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
       Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
       income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                             Column A              Column B
                                                                                                             Debtor 1              Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).                                                                        $ 2 776 00              $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.
  5. Net income from operating a business, profession,
                                                                     Debtor 1       Debtor 2
     or farm
       Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                    — $             — $
                                                                                                Copy
       Net monthly income from a business, profession, or farm           $                      here4        $

  6. Net income from rental and other real property                  Debtor 1        Debtor 2
       Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                    -$              —$
                                                                                                Copy
       Net monthly income from rental or other real property                         $          here".       $
                                                                         $
  7.   Interest, dividends, and royalties
                   Case 21-54507-wlh                  Doc 1       Filed 06/14/21 Entered 06/14/21 13:06:10                                    Desc
                                                                 Petition Page 50 of 52

Debtor 1        TAMARA                        R                      FLOYD                        Case number (if known)
                First Name      Middle Name        Last Name



                                                                                                       Column A             Column B
                                                                                                       Debtor 1             Debtor 2 or
                                                                                                                            non-filing spouse
 8. Unemployment compensation
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here:
       For you
           For your spouse

 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.




      Total amounts from separate pages, if any.

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                 $ 2,776.00 +          $                     $ 2,775.00
                                                                                                                                                    Total current
                                                                                                                                                    monthly income

  Part 2:       Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a. Copy your total current monthly income from line 11.                                                          copy line 11 here4      $    2 775.00
              Multiply by 12 (the number of months in a year).                                                                                  x 12
     12b. The result is your annual income for this part of the form.                                                                  12b.     $ 33,312.00

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                            GA

     Fill in the number of people in your household.                 1

     Fill in the median family income for your state and size of household.                                                            13.      $ 42,750.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

     14a.
       MI        Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                 Go to Part 3.

     14b.U       Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                 Go to Part 3 and fill out Form 122A-2.

  Part 3:        Sign Below

                By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                     1-114/h-f..skt41_
                    Signature of Debtor 1                                                       Signature of Debtor 2

                    Date 0611/3) 24 7/                                                          Date
                        No/ DD YYYY                                                                    MM/DD /YYYY

                    If you checked line 14a, do NOT fill out or file Form 122A- 2.
                    If you checked line 14b, fill out Form 122A-2 and file it with this form.
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                       DEPARTMENT OF EDUCATION
                              POB 82561
                            UNCOL, NE 68541

                                SANTANDER
                                 POB 961211
                            FORT WORTH, TX 75161
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                                                               Petition Page 52 of 52
   Case Number: 21-54507                                       Name: Floyd                                                               Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

121 Individual - Series 100 Forms                                                             El Non-Individual - Series 200 Forms
 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                          Petition Deficiencies:
 0 Complete List of Creditors (names and addresses of all creditors)                          O Last 4 digits of SSN
 171 Pro Se Affidavit (due within 7 days, signature must be notarized,                        0 Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                          O Type of Debtor
 El Signed Statement of SSN (due within 7 days)                                               O Chapter
                                                                                              0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                       O Statistical Estimates
   CI Statement of Financial Affairs                                                          O Venue
   O Schedules: A/B C D El FGHIJ 0 J-2 (different addressfor Debtor 2)                        O Attorney Bar Number
   0 Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules
                                                                                                                 Case filed via:
   O Attorney Disclosure of Compensation
                                                                                             Intake Counter by:
   O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                              O Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                               El Debtor - verified ID478-978-0211
   O Chapter 13 Current Monthly Income
                                                                                              O Other - copy of ID:
   O Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                   0 Mailed by:
   O Certificate of Credit Counseling (Individuals only)                                    O Attorney
   O Pay Advices (Individuals only) (2 Months)                                              O Debtor
   O Chapter 13 Plan, complete with signatures (local form)                                 O Other:
   O Corporate Resolution (Business Ch. 7 & 11)

  Ch.11 Business                                                                                      History of Case Association
  CI 20 Largest Unsecured Creditors
  CI List of Equity Security Holders                                                     Prior cases within 2 years:
  O Small Business - Balance Sheet
  CI Small Business - Statement of Operations
  O Small Business - Cash Flow Statement                                                 Signature:
                                                                                         Acknowledgment of receipt of Deficivéncy otice
  O Small Business - Federal Tax Returns

  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.
If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.goviservices-forms/bankruptcy/filing-without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
        El Paid $ 78.00* Pending payment made in office via pay.gov
            2g-Order Granting          1=1 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
 Intake Clerk: H.D.                     Date: 6/14/21                        Case Opener:                                             Date:
